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13
     Battle Born Investments Company, LLC
14                                UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16                                   SAN FRANCISCO DIVISION
17
     UNITED STATES OF AMERICA,                     Case No. 20-7811-RS
18
                    Plaintiff,                     [PROPOSED] ORDER GRANTING
19                                                 ADMINISTRATIVE MOTION TO FILE
                                                   UNDER SEAL
             v.
20

21   Approximately 69,370 Bitcoin (BTC),
     Bitcoin Gold (BTG), Bitcoin SV (BSV), and     Judge: Hon. Richard Seeborg
22   Bitcoin Cash (BCH) seized from                Courtroom: 3
     1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hb              Case Filed: November 5, 2020
23                                                 FAC Filed: November 20, 2020
     hx,                                           Trial Date:   TBD
24                 Defendant.
     First 100, LLC, 1st One Hundred Holdings,
25
     LLC, and Battle Born Investments
26   Company, LLC,

27                  Claimants.

28

      [PROPOSED] ORDER GRANTING MOTION TO                                Case No. 20-7811-RS
      FILE UNDER SEAL                            -1-
     121397774.v1
                  Case 3:20-cv-07811-RS Document 64-2 Filed 04/05/21 Page 2 of 2



 1           Claimants First 100, LLC, 1st One Hundred Holdings, LLC, and Battle Born Investments
 2   Company, LLC filed their joint Administrative Motion to File Under Seal of their respective
 3   answers in this captioned matter. The request is narrowly tailored to seal the material for which
 4   good cause to seal has been established in light of the concerns related to the identity of the
 5   “Individual X.”
 6           Accordingly, IT IS HEREBY ORDERED AS FOLLOWS:
 7   The following documents are hereby ordered seal:
 8           1.       Verified Answer of First 100, LLC and 1st One Hundred Holdings, LLC.
 9           2.       Verified Answer of Battle Born Investments Company, LLC.
10

11   Dated:_________
12
                                    _______________________________________
13                                  Hon. Richard Seeborg
                                    United States District Court Judge
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      [PROPOSED] ORDER GRANTING MOTION TO                                            Case No. 20-7811-RS
      FILE UNDER SEAL                                 -2-
     121397774.v1
